           Case: 1:22-cv-00150-MRB-KLL Doc #: 14 Filed: 05/02/22 Page: 1 of 1 PAGEID #: 53

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       SouthernDistrict
                                                    __________ District of
                                                                        of __________
                                                                           Ohio

                       MICHAEL LEAL                                  )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 1:22-CV-150
                                                                     )
              FELICIA BEDEL                                          )
               CAMMIE LEAL
                                                                     )
           CHELSEA STAEDTER
   SAMANTHA KERNS AKA SAMANTHA ADAMO                                 )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Chelsea Staedter
                                           'HDQ0DUWLQ'ULYH6XLWH
                                           /DV9HJDV19




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Andrew Stebbins, Esq.
                                       Minc Law
                                       200 Park Avenue, Suite 200
                                       Cleveland, OH 44122




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:          5/2/2022
                                                                                          Signature of Clerk or Deputy Clerk
